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UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK _-l A
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UNITED STATES OF AMERICA

> PRELIMINARY ORDER OF
-Vv.- FORFEITURE AS TO
: SUBSTITUTE ASSETS
JOSEPH BONJOVEY,
19 Cr, 332 (VB)
Defendant.
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WHEREAS, on or about May 7, 2019, JOSEPH BONJOVEY (the “defendant”),
was charged in a three-count information, 19 Cr, 332 (VB) (the “{nformation”), with distributing,
and possessing with the intent to distribute, mixtures and substances containing a detectable
amount of heroin and fentanyl, in violation of Title 21, United States Code, Sections 812, 841(a)(1)
and 841(b)(1)(C) (Counts One through Three);

WHEREAS, on or about May 7, 2019, the defendant pled guilty to Counts One
through Three of the Information, pursuant to a plea agreement with the Government;

WHEREAS, on or about October 2, 2019, the Court entered a Consent Preliminary
Order of Forfeiture/Money Judgment (the “Order of Forfeiture”), imposing a money judgment
against the defendant in the amount of $3,300.00 (the “Money Judgment”), representing the
amount of any and all property constituting or derived from any proceeds obtained directly or
indirectly asa result of the offenses charged in Counts One through Three of the Information and
any and all property used or intended to be used in any manner or part to commit or to facilitate
the commission of the offenses charged in Counts One through Three of the Information (D.E.

15);

 
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WHEREAS, to date, the Money Judgment against the defendant remains unpaid;

WHEREAS, as a result of acts and omissions of the defendant, the United States
has not been able to locate, obtain or collect assets traceable to the proceeds of the defendant’s
offenses, despite the exercise of due diligence in investigating the assets of the defendant; and

WHEREAS, the Government has identified the following specific asset in which
the defendant has an ownership interest:

a. $1,362.00 in United States currency seized from the defendant’s vehicle at
the time of his arrest on or about February 28, 2019.

(the “Substitute Asset’).

NOW ITIS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

1. All of the defendant’s right, title and interest in the Substitute Asset is hereby
forfeited to the United States of America, for disposition in accordance with the law, subject to the
provisions of Title 21, United States Code, Section 853(n).

2. Upon entry ofa Fina! Order of Forfeiture, the Substitute Assetshall be applied
towards the satisfaction of the Money Judgment entered against the defendant.

3. Pursuant to Title 21, United States Code, Section 853(n)(1), Rule 32.2(b)(6)
of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United
States shall publish for at least thirty (30) consecutive days on the official government internet
forfeiture site, www.forfeiture.gov, notice of this Preliminary Order of Forfeiture as to Substitute
Assets and provide notice that any person, other than the defendant in this case,claiming an interest

in the Substitute Asset must file a petition within sixty (60) days from the first day of publication
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of the notice on this official government internet site, or no later than thirty-five (35) days from
the mailing of actual notice, whichever is earlier.

4. The notice referenced in the preceding paragraph shall state that the petition
shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the Substitute
Asset, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and
extent of the petitioner’s right, title or interest in the Substitute Asset and any additional facts
supporting the petitioner’s claim and the relief sought, pursuant to Title 21, United States Code,
Section 853(n).

5. The United States may also, to the extent practicable, provide direct written
notice to any person, other than the defendant, known to have an alleged interest in the Substitute
Asset, as a substitute for published notice as to those persons so notified.

6. Upon adjudication of all third-party interests, this Court will enter a Final
Order of Forfeiture with respect to the Substitute Asset, pursuant to Title 21, United States Code,
Section 853(n), in which all interests will be addressed.

7. The Court shall retain jurisdiction to enforce this Preliminary Order of
Forfeiture as to Substitute Assets, and to amend it as necessary, pursuant to Federal Rule of

Criminal Procedure 32.2(e).

[THE REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

 
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8. The Clerk of the Court shall forward four certified copies of this Preliminary
Order of Forfeiture as to Substitute Assets to Assistant United States Attorney Alexander J.
Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St, Andrew’s Plaza, New York, New York, 10007.

Dated: New York, New York

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November G 2020
SO ORDERED:

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HONORABLE VINCENT BRICCETTI
UNITED STATES DISTRICT JUDGE

 

 

 
